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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE: ABILIFY (ARIPIPRAZOLE)               Case No. 3:16-md-2734
PRODUCTS LIABILITY
LITIGATION
                                            Chief Judge M. Casey Rodgers
                                            Magistrate Judge Gary Jones
This Document Relates to All Cases


                                     ORDER

      A dispute between the parties currently exists regarding the permissible scope

of the upcoming deposition of Dr. Mahyar Etminan, the lead author of Risk of

Gambling Disorder and Impulse Control Disorder with Aripiprazole, Pramipexole,

and Ropinirole: A Pharmacoepidemiologic Study, 37(1) Journal of Clinical

Psychopharmacology, 102–04 (2017) and a non-testifying consulting expert for

Plaintiffs since February 2017. The deposition is currently scheduled for May 16,

2017 in Vancouver, Canada.

      Defendants first requested to take Dr. Etminan’s deposition during a

discovery conference call on April 26, 2017. Defendants explained that Dr. Etminan

had previously admitted to methodological flaws in a study he authored regarding

the Mirena IUD. Plaintiffs objected and argued that allowing Defendants to depose

Dr. Etminan would have a chilling effect on scientific research, citing In re Bextra

and Celebrex Marketing Sales Practices and Product Liability Litigation, 249
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F.R.D. 8 (D. Mass. 2008).        The Court disagreed and found the Bextra case

distinguishable because it focused on the discoverability of peer review information,

whereas here the Defendants did not seek discovery into the confidential peer review

process but rather into the researcher’s methodology supporting a published

scientific study the Plaintiffs intend to rely on in an effort to establish general

causation. Given the importance of this study as the only epidemiological study on

the relationship between Abilify and compulsive gambling currently in existence in

the scientific literature, the Court authorized the deposition.

      Defendants subsequently submitted a proposed order for the deposition,

which included a duces tecum-type request for all “[d]ocuments reflecting

communications [by Dr. Etminan] with attorneys representing U.S. plaintiffs.” ECF

No. 333-1, at 6. This was the first mention that Defendants were seeking discovery

of communications between plaintiffs’ counsel and Dr. Etminan. After Plaintiffs

objected, Defendants voluntarily submitted a revised version of the proposed order,

omitting the document request. The Court entered the Order on April 28, 2017, ECF

No. 337.     At the Case Management Conference on May 5, 2016, and in the

corresponding proposed agenda, the parties debated the propriety of allowing

Defendants to ask questions of Dr. Etminan about his communications with




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Plaintiffs’ counsel.1 The Court ordered briefing from the parties, which has now

been submitted.2

       Defendants propose to question Dr. Etminan about his communications with

Plaintiffs’ counsel, in an effort to determine whether the communications influenced

the study. Defendants agree to limit their inquiry to Dr. Etminan’s communications

with Plaintiffs’ counsel prior to the study’s publication date of December 8, 2016,

which was two months before he was retained by Plaintiffs. According to

Defendants, prior to Plaintiffs retaining Dr. Etminan as a consulting expert, he was

merely a fact witness, and thus any pre-retention communications are fully

discoverable. Defendants argue further that even if the communications are entitled

to protection, Plaintiffs have voluntarily waived the protection. Plaintiffs object to

any discovery into communications between Dr. Etminan and Plaintiffs’ counsel on

two primary grounds: first, that Fed. R. Civ. P. 26(b)(4)(D) protects informal

consultation with experts (which is how Plaintiffs characterize Dr. Etminan), and

second that the communications with Dr. Etminan are protected opinion work

product under Fed. R. Civ. P. 26(b)(3).



       1
           As used in this Order, “Plaintiffs’ counsel” refers to counsel with cases in the MDL.
       2
          The parties also briefed the propriety of allowing Plaintiffs’ counsel to represent
Dr. Etminan at his deposition and any problems that might pose. Subsequently, on May 12, 2017,
Plaintiffs’ counsel informed the Court that they no longer intend to represent Dr. Etminan at the
deposition.



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In Camera Email Review

      As an initial matter, in order to dispel any suggestion of impropriety, Gary

Wilson, Co-Lead Counsel for Plaintiffs requested that the Court review emails

between himself and Dr. Etminan in camera, which the Court agreed to do. The

Court has reviewed the handful emails and finds nothing in them to suggest that Mr.

Wilson either attempted to influence Dr. Etminan or that Dr. Etminan voluntarily

changed any aspect of the study in response to communications with Mr. Wilson.

With that said, the emails reference telephone conversations between Mr. Wilson

and Dr. Etminan, the content of which is not contained in the emails.

Informally Consulted Expert

      In support of their first argument that the pre-retention communications are

protected due to Dr. Etminan’s status as an informally consulted expert, Plaintiffs

point to Federal Rule of Civil Procedure 26(b)(4)(D), which reads, “Ordinarily, a

party may not, by interrogatories or deposition discover facts known or opinions

held by an expert who has been retained or specially employed by another party in

anticipation of litigation or to prepare for trial and who is not expected to be called

as a witness at trial” except on a “showing [of] exceptional circumstances under

which it is impracticable for the party to obtain facts or opinions on the same subject

by other means.” Fed. R. Civ. P. 26(b)(4)(D). The 1970 Advisory Committee Notes

explain that this section “is concerned only with experts retained or specially



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consulted in relation to trial preparation,” and, therefore, it “precludes discovery

against experts who were informally consulted in preparation for trial, but not

retained or specifically employed.” Plaintiffs cite two cases to support their

argument that Dr. Etminan qualifies as an informally consulted expert within the

meaning of Rule 26(b)(4)(D): Ager v. Jane C. Stormont Hosp. & Training Sch. for

Nurses, 622 F.2d 496 (10th Cir. 1980) and USM Corp. v. Am. Aerosols, Inc., 631

F.2d 420 (6th Cir. 1980). The Court is not persuaded by either case.

      In Ager, a medical malpractice case, the defendants propounded an

interrogatory to the plaintiff asking whether she had “contacted any person or

persons, whether they are going to testify or not in regard to the care and treatment

rendered?” Id. at 498. Plaintiff objected to the interrogatory and refused to answer

on the basis that “an expert who advises a party that his opinion will not aid the party

in the trial of the case falls within the definition of experts informally consulted but

not retained or specially employed.” Id. The Ager Court acknowledged that under

Rule 26, parties are not entitled to discovery of the “information and opinions

developed in anticipation of litigation” or “the identity and other collateral

information” related to experts who are informally consulted. Id., at 501. The court

cited the following factors as important in deciding whether a witness qualifies for

this protection as an informally consulted expert:

      (1) the manner in which the consultation was initiated; (2) the nature,
      type and extent of information or material provided to, or determined

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      by, the expert in connection with his review; (3) the duration and
      intensity of the consultative relationship; and (4) the terms of the
      consultation, if any (e.g. payment, confidentiality of test data or
      opinions, etc.).

Id., at 501. The court found that those factors had not been considered by the district

court and remanded the case. In USM Corp., Positive Chemical Corporation was

notified that the marketer and distributer of its product intended to hold the company

liable for defects in the product. Shortly after this notification, Positive Chemical

contacted Joseph Marchbank and requested an evaluation of the product defect,

which Marchbank provided. The court ruled that the communications were not

discoverable because Marchbank was “informally consulted in anticipation of

litigation.” Id., at 425. Among other things, the court considered that Marchbank

received no compensation for his services and “express[ed] his unwillingness to

become involved in the . . . dispute.” Id.

      Both Ager and USM Corp. are readily distinguishable, in that, neither case

addresses the propriety of discovery for an informally consulted expert who is later

formally retained, which is the case with Dr. Etminan. Additionally, although

Plaintiffs rely on Ager, they have not provided anywhere near the level of factual

detail necessary to address the four factors identified by the Tenth Circuit as being

important to this issue. The undersigned has limited understanding of the

communications between Dr. Etminan and Plaintiffs’ Co-Lead Counsel Gary

Wilson and no information at all of communications between Dr. Etminan and other

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Plaintiffs’ counsel. The emails between Dr. Etminan and Mr. Wilson provide little

information, certainly not enough for the undersigned to decide the “nature, type and

extent of information or material provided to, or determined by, [Dr. Etminan] in

connection with his review,” or the duration, intensity, or terms of the relationship

prior to Dr. Etminan being retained. See, Ager, 622 F.2d at 501. in the MDL to have

had contact with Dr. Etminan. Therefore, the undersigned cannot find that Dr.

Etminan was an informally consulted expert prior to being retained by Plaintiffs.

Opinion Work Product

      Plaintiffs also argue that, regardless of Dr. Etminan’s status, their counsels’

communications with him are protected as opinion work product. Rule 26(b)(3)

provides that when discovery into trial preparation materials is allowed, the court

“must protect against disclosure of mental impressions, conclusions, opinions, or

legal theories of a party’s attorney or other representative concerning the litigation.”

Fed. R. Civ. P. 26(b)(3)(B). This is a fundamental protection grounded in public

policy. “Our adversarial system of justice cannot function properly unless an

attorney is given a zone of privacy within which to prepare the client’s case and plan

strategy, without undue interference.” In re San Juan Dupont Plaza Hotel Fire

Litigation, 859 F.2d 1007, 1014 (1st Cir. 1988). Indeed, “opinion work product

enjoys a nearly absolute immunity and can be discovered only in very rare and




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extraordinary circumstances.” Cox v. Administrator U.S. Steel & Carnegie, 17 F.3d

1386 (11th Cir. 1994) (quoting In re Murphy, 560 F.2d 326, 336 (8th Cir. 1977).

      The Court finds that this protection applies to Plaintiffs’ counsels’

communications with Dr. Etminan, even prior to retention. Defendants argue,

however, that Plaintiffs have voluntarily waived the privilege because, “the work-

product doctrine does not address situations where a lawyer has input into a

published study on which he intends to rely.” ECF No. 349, at 6. According to

Defendants, Plaintiffs “should not be allowed” to “assert that the [s]tudy is peer-

reviewed and independent” without allowing Defendants to test it. Id., at 8.

      The undersigned agrees, in part, and finds that Defendants should be allowed

to inquire of Dr. Etminan whether his communications with any plaintiffs’ counsel

influenced the study in some way. With that said, the undersigned does not agree

that this necessarily entitles Defendants to discover the mental impressions and

litigation strategies of the Plaintiffs’ counsel in this MDL. Such a view, if adopted,

would implicitly assume that published, peer-reviewed, scientific research is biased

unless it can be proven otherwise. The undersigned is not willing to adopt such a

skeptical view of research. Skepticism of a research study, even when supported by

prior questionable research practices by the researcher, does not constitute the type

of extraordinary circumstances required to discover opinion work product. The

undersigned is unwilling to find that Plaintiffs waive such a strong protection



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without any support that counsel actually had input into the study. At this time, there

are no facts to suggest that Plaintiffs’ counsel in this MDL in any way affected Dr.

Etminan’s study, and therefore, Defendants may not inquire into the opinion work

product of Plaintiffs’ counsel when questioning him. 3 With that said, should it

become apparent during the deposition that Plaintiffs’ counsel had input into the

study or Dr. Etminan’s methodology, then the parties may contact Judge Jones or

the undersigned for a ruling on whether that input constitutes a waiver of the

privilege.

Deposition Scope

       Dr. Etminan’s deposition was permitted so that Defendants could inquire into

any methodological flaws, or author bias, that might exist in connection with the

study. To the extent the study was influenced by communications with any plaintiffs’

counsel, the communications are relevant and may be inquired into, unless the

communications relate to the opinion work product of Plaintiffs’ counsel [in this




       3
           To clarify, Defendants’ counsel are permitted to inquire whether Dr. Etminan made any
changes to the timing, methodology, or other relevant aspect of the study following
communications with Plaintiffs’ counsel. To the extent that Dr. Etminan initiated contact with
Plaintiffs’ counsel, Defendants are free to inquire into his motive and the timing of such contact.
However, Defendants may not inquire regarding any opinions or case strategies shared by
Plaintiffs’ counsel, or any other inquires made by Plaintiffs’ counsel that relate to the preparation
of their case absent leave of Court, and Plaintiffs’ counsel may object if counsel believes the
answer will reveal opinion work product.



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MDL], in which case the parties should seek a ruling from the Court on whether the

privilege has been waived.

       The parties are notified that any objections raised before 3:00 p.m. (CDT),

should be addressed to Magistrate Judge Jones. Any objections after that time should

be addressed to the undersigned.4



       DONE and ORDERED on this 15th day of May, 2017.




                                      M. Casey Rodgers
                                      M. CASEY RODGERS
                                      CHIEF UNITED STATES DISTRICT JUDGE




       4
         The undersigned will be in a jury trial on the day of the deposition and therefore may
not be in a position to take the call immediately but will make every effort to address the matter
as quickly as possible.



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